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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
                                                                    -   -    -   x
                                                                                         INFORMATION
UNITED STATES OF AMERICA
                                                                                         18 Cr.     _     (WHP)
                     - v. -

MICHAEL COHEN,                                                                       18CBIM
                                    Defendant.                                                                        -    -   ---~




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                     The United States Attorney charges:                                       I  DOC 71:     -
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                                                               Background                      J::.~~---=-:--=-       -·---- ---~
                                                          The Defendant

                     1.         From in or about 2007 through in or about January

2017, MICHAEL COHEN,                             the defendant, was an attorney and employee

of a Manhattan-based real estate company (the "Company").                                                         COHEN

held the title of "Executive Vice President" and "Special Counsel"

to the owner of the Company ("Individual-1").

                     2.         In or about January 2017,                               COHEN left the Company

and      began            holding            himself            out         as   the    "personal       attorney"     to

Individual-1, who at that point had become the President of the

United States.

                     3.         In addition to working for and earning income from

the Company,                   at all times relevant to this Information, MICHAEL

COHEN,       the defendant, owned taxi medallions in New York City and

Chicago          worth              millions              of    dollars.               COHEN   owned     these      taxi
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     medallions as investments and leased the medallions to operators

     who paid COHEN a portion of the operating income.

                                     Tax Evasion Scheme

                  4.       Between tax years 2012 and 2016, MICHAEL COHEN, the

     defendant, engaged in a scheme to evade income taxes by failing to

     report more than $4 million in income, resulting in the avoidance

     of taxes of more than $1.4 million due to the IRS.

                  5.       In   or   about     late     2013,    MICHAEL        COHEN   I   the

     defendant, retained an accountant ("Accountant-1") for the purpose

     of handling COHEN'S personal and entity tax returns.                       After being

     retained, Accountant-1 filed amended 2011 and 2012 Form 1040 tax

     returns for COHEN with the Internal Revenue Service ("IRS").                           For

     tax years      2013    through    2016,   Accountant-1          prepared    individual

     returns for COHEN and returns for COHEN'S medallion and real estate

     entities.     To confirm he had reviewed and approved these returns,

     both COHEN and his wife signed a                 Form 8879 for tax years 2013

     through 2016,        and filed manually for tax year 2012.                   Each Form

     8879    contained an affirmation,              "[u] nder penal ties     of perjury,"

     that COHEN "examined a copy of [his] electronic individual Income

     tax return and accompanying schedules and statements" and "to the

     best    of   [his]    knowledge and belief,          it    is   true,   correct,       and

     accurately lists all amounts and sources of income [COHEN] received

     during the tax year."
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             6.   Between 2012 and the end of 2016,         MICHAEL COHEN,

the defendant,     earned more than $2. 4 million in income from a

series of personal loans made by COHEN to a taxi operator to whom

COHEN    leased   certain   of   his   Chicago   taxi    medallions     ("Taxi

Operator-1"), none of which he disclosed to the IRS.

             7.   Specifically,    in March 2012,       pursuant to a    loan

agreement,    Taxi Operator-1 solicited a $2 million personal loan

from MICHAEL COHEN, the defendant, so that Taxi Operator-1 could

cover various personal and taxi business-related expenses.                  On

April 28,    2014, Taxi Operator-1 and his wife entered into a new

loan agreement with COHEN,        increasing the $2 million loan,          the

principal of which remained unpaid,         to $5 million.     Finally,     in

2015, Taxi Operator-1 and his wife entered into an amended loan

agreement with COHEN, increasing the principal amount of the loan

to $6 million.     Each loan was interest-only, carried an interest

rate in excess of 12 percent,          and was collateralized by either

Chicago taxi medallions or a property in Florida owned by Taxi

Operator-1 and his family.        COHEN funded the majority of his loans

to Taxi Operator-1 from a line of credit with an interest rate of

less than 5 percent.

             8.   For each of the loans, at the direction of MICHAEL

COHEN,   the defendant,     Taxi Operator-1 made the interest payment

checks out to COHEN personally, and the checks were deposited in
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COHEN's personal bank account,                or an account in the name of his

wife.      COHEN did not provide              records       that would have allowed

Accountant-1 to reasonably identify this income.

             9.       Pursuant    to    the        terms    of    the    loan    agreements

between MICHAEL COHEN,           the defendant, and Taxi Operator-1, COHEN

received more than $2. 4 million in interest payments from Taxi

Operator-1 between 2012 and 2016, and reported none of that income

to the IRS.          COHEN intended to hide the income from the IRS in

order to evade taxes.

             10.      As a    further part of the scheme to evade paying

income taxes,        MICHAEL COHEN,          the defendant,         also concealed more

than $1.3 million in income he received from another taxi operator

to whom COHEN leased certain of his New York medallions                                 ("Taxi

Operator-2").         This income took two forms.                  First, COHEN did not

report the substantial majority of a bonus payment of at least

$870,000, which was made by Taxi Operator-2 in or about 2012 to

induce COHEN to allow Taxi Operator-2 to operate certain of COHEN'S

medallions.          Second,     between       2012    and       2016,   COHEN    concealed

substantial         additional    taxable          income    he     received     from    Taxi

Operator-2's operation of certain of COHEN'S taxi medallions.

              11.     To     ensure    the     concealment         of    this    additional

operator income, MICHAEL COHEN, the defendant , arranged to receive

a portion of the medallion income personally, as opposed to having
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the   income   paid    to    COHEN'S   medallion   entities.        Paying   the

medallion entities would have alerted Accountant-1, who prepared

the returns for those entities,             to the existence of the income

such that it would have been included on COHEN'S tax returns.

           12.    As a      further part of his scheme to evade taxes,

MICHAEL COHEN,    the defendant,       also hid the following additional

sources of income from Accountant-1 and the IRS:

                  a.     A $100,000     payment    received,   in    2014,   for

brokering the sale of a piece of property in a private aviation

community in Ocala, Florida.

                  b.     Approximately $30,000 in profit made, in 2015,

for brokering the sale of a Birkin Bag,            a highly coveted French

handbag that retails for between $11,900 to $300,000, depending on

the type of leather or animal skin used.

                  c.     More than $200,000 in consulting income earned

in 2016 from an assisted living company purportedly for COHEN's

"consulting" on real estate and other projects.

                              COUNTS 1 THROUGH 5
           (Evasion of Assessment of Income Tax Liability)

           The United States Attorney further charges:

            13.   The allegations contained in paragraphs 1 through

12 are repeated and realleged as though fully set forth herein.



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                14.   From on or about January 1 of each of the calendar

years     set    forth   below,    through     the   present,   in   the   Southern

District of New York and elsewhere, MICHAEL COHEN, the defendant,

who during each calendar year set forth below was married,                        did

willfully and knowingly attempt to evade and defeat a substantial

part of the income tax due and owing by COHEN and his wife to the

United States by various means, including by committing and causing

to be     committed the      following     affirmative acts,         among others:

preparing and causing to be prepared,                signing and causing to be

signed,    and filing and causing to be filed with the IRS,                     in or

about     the month of       April   of   each   said calendar year,        a    U.S.

Individual Income Tax Return, Form 1040, for each of the calendar

years set forth below,            on behalf of himself and his wife, which

falsely omitted substantial amounts of income in or about the years

listed below.

 Count            Tax Year         Unreported Income             Tax Loss
   1                  2012              $893,750                 $192,188
   2                  2013              $499,400                 $299,229
   3                  2014              $670,667                 $232,883
   4                  2015              $969,616                 $375,390
   5                  2016             $1,100,618                $395,615

                (Title 26, United States Code, Section 7201.)




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                            False Statements to a Bank

              The United States Attorney further charges:

              15.     In or about 2010,            MICHAEL COHEN,      the defendant,

through    companies         he     controlled,        executed    a    $6.4    million

promissory note with a bank ("Bank-1"), collateralized by COHEN'S

taxi medallions and personally guaranteed by COHEN.                     A year later,

in 2011,      COHEN personally obtained a               $6 million line of credit

from Bank-1         (the "Line of Credit"),            also collateralized by his

taxi medallions.           By February 2013, COHEN had increased the Line

of   Credit    from    $6    million      to   $14    million,    thereby   increasing

COHEN's personal medallion liabilities at Bank-1 to more than $20

million.

              16.     In    or    about   November      2014,    MICHAEL    COHEN,   the

defendant,     refinanced his medallion debt at Bank-1 with another

bank ( "Bank-2"), which shared the debt with a New York-based credit

union (the "Credit Union").               The transaction was structured as a

package of individual loans to the entities that owned COHEN'S New

York medallions,           personally guaranteed by COHEN.              Following the

loans' closing, COHEN'S medallion debt at Bank-1 was paid off with

funds from Bank-2 and the Credit Union,                    and the Line of Credit

with Bank-1 was closed.

              17.     In or about 2013,            in connection with a successful

application for a mortgage from another Bank                      ( "Bank-3")   for his
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Park Avenue condominium (the "2013 Application"), MICHAEL COHEN,

the defendant, disclosed only the $6.4 million medallion loan he

had with Bank-1 at the time.                     As noted above, COHEN also had a

larger,     $14 million Line of Credit with Bank-1 secured by his

medallions, which COHEN did not disclose in the 2013 Application.

             18 .      In or       around February 2015 ,                MICHAEL COHEN,           the

defendant,        in     an    attempt    to    secure          financing      from     Bank-3     to

purchase     a    summer        home    for    approximately            $8. 5 million,         again

concealed        the     $14    million       Line      of   Credit.         Specifically,         in

connection with this proposed transaction, Bank-3 obtained a 2014

personal financial statement COHEN had provided to Bank-2 while

refinancing his medallion debt.                      Bank-3 questioned COHEN about the

$14 million Line of Credit reflected on that personal financial

statement,       because COHEN had omitted that                         debt     from    the     2013

Application         to        Bank-3.         COHEN       misled       Bank-3,     stating,        in

substance,       that the $14 million Line of Credit was undrawn and

that   he    would        close     it.        In       truth    and    in   fact,      COHEN     had

effectively overdrawn the Line of Credit, having swapped it out

for a fully drawn, larger group of loans shared by Bank-2 and the

Credit union upon refinancing his medallion debt.                                     When Bank-3

informed COHEN that it would only provide financing if COHEN closed

the Line of Credit, COHEN lied again, misleadingly stating in an



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email:   "The medallion line was closed in the middle of November

2014."

             19.   In or     around December                 2015,    MICHAEL COHEN,     the

defendant,     contacted Bank-3 to apply for a home equity line of

credit    ("HELOC").         In    so       doing,          COHEN    again     significantly

understated his medallion debt.

             20.   Specifically,            in       the   HELOC     application,    MICHAEL

COHEN,   the    defendant,        together           with    his     wife,    represented   a

positive net worth of more than $40 million,                           again omitting the

$14 million in medallion debt with Bank-2 and the Credit Union.

Because COHEN had previously confirmed in writing to Bank-3 that

the $14 million Line of Credit had been closed,                               Bank-3 had no

reason to question COHEN about the omission of this liability on

the HELOC application.        In addition,                 in seeking the HELOC, COHEN

substantially and materially understated his monthly expenses to

Bank-3 by omitting at least $70,000 in monthly interest payments

due to Bank-2 on the true amount of his medallion debt.

             21.   In or about April 2016,                     Bank-3    approved MICHAEL

COHEN,   the defendant,       for       a    $500,000         HELOC.         By fraudulently

concealing truthful        information about his                     financial    condition,

MICHAEL COHEN, the defendant, obtained a HELOC that Bank-3 would

otherwise not have approved.


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                                   COUNT 6
                        (False Statements to a Bank)

             The United States Attorney further charges:

             22.     The allegations contained in paragraphs 1 through

3 and 15 through 21 are repeated and realleged as though fully set

forth herein.

             23.     From at least in or about December 2015 through at

least in or about April 2016, in the Southern District of New York

and     elsewhere,    MICHAEL     COHEN,         the    defendant,     willfully       and

knowingly made false statements for the purpose of influencing the

action of a financial institution, as defined in Title 18, United

States Code, Section 20, upon an application, advance, discount,

purchase,    purchase agreement,            repurchase agreement,          commitment,

loan,    or insurance agreement or application for insurance or a

guarantee,    or any change or extension of any of                      the same,       by

renewal,    deferment     of    action or        otherwise,    or    the acceptance,

release,     or    substitution        of   security      therefore,       to   wit,    in

connection with an application for a home equity line of credit,

COHEN made false statements to Bank-3 about his true financial

condition,     including       about    debts     for    which he    was    personally

liable, and about his cash flow.

          (Title 18, United States Code, Sections 1014 and 2 . )



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                           Campaign Finance Violations

              The United States Attorney further charges:

              24.    The   Federal     Election        Campaign       Act    of    1971,   as

amended,   Title 52,        United States Code,              Section 3 0101,        et seq. ,

(the •Election Act"), regulates the influence of money on politics.

At all times relevant to the Information,                          the Election Act set

forth   the    following        limitations,         prohibitions,          and    reporting

requirements,        which     were    applicable            to    MICHAEL      COHEN,     the

defendant, Individual-1, and his campaign:

                     a.      Individual contributions to any presidential

candidate, including expenditures coordinated with a candidate or

his political committee, were limited to $2,700 per election, and

presidential candidates and their committees were prohibited from

accepting contributions from individuals in e x cess of this limit.

                     b.     Corporations           were      prohibited      from     making

contributions        directly     to    presidential              candidates,      including

expenditures coordinated with candidates or their committees, and

candidates were prohibited from accepting corporate contributions.

              25.    On or about June 16, 2015,                   Individual-1 began his

presidential        campaign.         While        MICHAEL    COHEN,     the      defendant,

continued to work at the Company and did not have a formal title

with the campaign, he had a campaign email address and, at various

times, advised the campaign,             including on matters of interest to
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the press, and made televised and media appearances on behalf of

the campaign.

            26.    At      all     times      relevant     to     this    Information,

Corporation-1 was a media company that owns, among other things,

a popular tabloid magazine ("Magazine-1").

            27.      In or about August 2015,             the Chairman and Chief

Executive of Corporation-1               ( "Chairman-1"),       in coordination with

MICHAEL COHEN,        the defendant,          and one or more members              of   the

campaign,      offered     to     help    deal     with   negative       stories    about

Individual-l's relationships with women by,                      among other things,

assisting the campaign in identifying such stories so they could

be purchased and their publication avoided.                     Chairman-1 agreed to

keep COHEN apprised of any such negative stories.

            28.      Consistent        with    the   agreement     described       above,

Corporation-1 advised MICHAEL COHEN,                  the defendant,       of negative

stories during the course of the campaign,                      and COHEN,    with the

assistance of Corporation-1, was able to arrange for the purchase

of   two   stories    so    as    to   suppress      them and prevent        them       from

influencing the election.

             29.     First,      in or about June 2016, a model and actress

( "Woman-1")    began attempting to sell her story of her alleged

extramarital affair with Individual-1 that had taken place in 2006

and 2007, knowing the story would be of considerable value because
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of the election.        Woman-1 retained an attorney ("Attorney-1"), who

in turn contacted the editor-in-chief of Magazine-1 ("Editor-1"),

and offered to sell Woman-l's story to Magazine-1.                   Chairman-1 and

Editor-1 informed MICHAEL COHEN,                 the defendant, of the story. At

COHEN'S urging and subject to COHEN'S promise that Corporation-1

would be reimbursed, Editor-1 ultimately began negotiating for the

purchase of the story.

            30.      On or about August 5,           2016, Corporation-1 entered

into an agreement with Woman-1 to acquire her "limited life rights"

to the story of her relationship with "any then-married man," in

exchange    for     $150, 000    and a     commitment     to    feature   her   on two

magazine covers and publish over one hundred magazine articles

authored by her.         Despite the cover and article features to the

agreement, its principal purpose, as understood by those involved,

including MICHAEL COHEN, the defendant, was to suppress Woman-l's

story so as to prevent it from influencing the election.

             31.     Between in or about late August 2016 and September

2016,    MICHAEL COHEN,         the defendant,        agreed with Chairman-1        to

assign the rights to the non-disclosure portion of Corporation-

l's     agreement     with      Woman-1     to    COHEN   for    $125,000.       COHEN

incorporated a shell entity called "Resolution Consultants LLC"

for use in the transaction.               Both Chairman-1 and COHEN ultimately

signed the agreement,           and a consultant for Corporation-1,              using
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his    own shell     entity,     provided COHEN with an       invoice   for   the

payment of $125,000.            However,    in or about early October 2016,

after the assignment agreement was signed but before COHEN had

paid the $125,000,           Chairman-1 contacted COHEN and told him,          in

substance, that the deal was off and that COHEN should tear up the

assignment agreement.          COHEN did not tear up the agreement, which

was    later    found   during    a    judicially authorized      search of   his

office.

               32.   Second,    on or about October 8, 2016, an agent for

an adult film actress          ("Woman-2") - informed Editor-1 that Woman-2

was willing to make public statements and confirm on the record

her alleged past affair with Individual-1.              Chairman-1 and Editor-

1 then contacted MICHAEL COHEN, the defendant, and put him in touch

with Attorney-1,        who was       also representing Woman-2.        Over the

course of the next few days, COHEN negotiated a $130,000 agreement

with     Attorney-1     to     himself     purchase   Woman-2's    silence,   and

received a .signed confidential settlement agreement and a separate

side letter agreement from Attorney-1.

               33.   MICHAEL COHEN,      the defendant,    did not immediately

execute the agreement, nor did he pay Woman-2.               On the evening of

October 25, 2016, with no deal with Woman-2 finalized, Attorney-1

told Edi tor-1 that Woman-2 was close to completing a deal with

another outlet to make her story public.              Editor-1, in turn, texted
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MICHAEL    COHEN,      the    defendant,     that        "[w] e   have     to   coordinate

something on the matter [Attorney-1 is]                     calling you about or it

could look awfully bad for everyone."                       Chairman-1 and Editor-1

then called COHEN            through an     encrypted        telephone      application.

COHEN agreed to make the payment,                 and then called Attorney-1 to

finalize the deal.

             34.     The next day, on October 26, 2016, MICHAEL COHEN,

the defendant,        emailed an incorporating service                     to obtain the

corporate     formation       documents     for     another        shell    corporation,

Essential Consultants LLC, which COHEN had incorporated a few days

prior.     Later that afternoon,           COHEN drew down $131,000 from the

fraudulently       obtained HELOC,         discussed above           in paragraphs       19

through 21, and requested that it be deposited into a bank account

COHEN had just opened in the name of Essential Consultants.                            The

next morning, on October 27, 2016, COHEN went to Bank-3 and wired

approximately $130,000 from Essential Consultants to Attorney-1.

On the bank form to complete the wire,                      COHEN falsely indicated

that the "purpose of wire being sent" was "retainer."                           On or about

November 1,        2016,   COHEN received from Attorney-_l                 copies of the

final,    signed confidential settlement agreement and side letter

agreement.

             35.     MICHAEL COHEN,       the defendant,          caused and made the

payments     described        herein   in        order     to     influence      the   2016
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presidential election.        In so doing,    he coordinated with one or

more members of the campaign, including through meetings and phone

calls, about the fact, nature, and timing of the payments.

          36.     As a result of the payments solicited and made by

MICHAEL COHEN, the defendant, neither Woman-1 nor Woman-2 spoke to

the press prior to the election.

          37.     In   or   about   January   2017,   MICHAEL   COHEN,   the

defendant, in seeking reimbursement for election-related expenses,

presented executives of the Company with a copy of a bank statement

from the Essential Consultants bank account, which reflected the

$130,000 payment COHEN had made to the bank account of Attorney-1

in order to keep Woman-2 silent in advance of the election, plus

a $35 wire fee,    adding,   in handwriting, an additional "$50,000."

The $50, 000    represented a   claimed payment for      "tech services , "

which in fact related to work COHEN had solicited from a technology

company during and in connection with the campaign.             COHEN added

these amounts to a sum of $180,035.        After receiving this document,

executives of the Company "grossed up"          for tax purposes COHEN' s

requested reimbursement of $180,000 to $360,000, and then added a

bonus of $60,000 so that COHEN would be paid $420,000 in total.

Executives of the Company also determined that the $420,000 would

be paid to COHEN in monthly amounts of $35,000 over the course of



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twelve months,       and   that    COHEN    should    send    invoices   for    these

payments.

              38.   On or about February 14, 2017, MICHAEL COHEN,                   the

defendant,     sent an executive of the Company ("Executive-1")                     the

first    of   his   monthly   invoices,         requesting    " [p] ursuant    to   [a]

retainer agreement,               . payment for services rendered for the

months of January and February, 2017."               The invoice listed $35,000

for each of those two months.              Executive-1 forwarded the invoice

to another executive of the Company ("Executive-2")                   the same day

by email, and it was approved.              Executive-1 forwarded that email

to another employee at the Company, stating: "Please pay from the

Trust.   Post to legal expenses.           Put     'retainer for the months of

January and February 2017' in the description."

              39.   Throughout 2017, MICHAEL COHEN, the defendant, sent

to one or more representatives of the Company monthly invoices,

which stated,       "Pursuant to the retainer agreement,              kindly remit

payment for services rendered for" the relevant month in 2017, and

sought    $35,000    per   month.      The       Company     accounted   for    these

payments as legal expenses.           In truth and in fact,           there was no

such retainer agreement, and the monthly invoices COHEN submitted

were not in connection with any legal services he had provided in

2017.



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              40.   During 2017,       pursuant    to   the   invoices   described

above,    MICHAEL    COHEN,     the   defendant,     received monthly      $35, 000

reimbursement checks, totaling $420,000.

                                COUNT 7
              (Causing an Unlawful Corporate Contribution)

              The United States Attorney further charges:

              41.   The allegations contained in paragraphs 1 through

3, and 24 through 40 are repeated and realleged as though fully

set forth herein.

              42.   From in or about June 2016, up to and including in

or about October 2016,          in the Southern District of New York and

elsewhere, MICHAEL COHEN,           the defendant, knowingly and willfully

caused    a   corporation      to   make   a    contribution    and   expenditure,

aggregating $25,000 and more during the 2016 calendar year, to the

campaign of a candidate for President of the United States,                     to

wit,   COHEN caused Corporation-1 to make and advance a                   $150, 000

payment       to    Woman-1,        including     through      the    promise   of

reimbursement,      so as      to ensure that Woman-1          did not publicize

damaging allegations before the 2016 presidential                     election and

thereby influence that election.

      (Title 52, United States Code, Sections 30118(a) and
30109(d) (1) (A), and Title 18, United States Code, Section 2(b} .)




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                                COUNT 8
                   (Excessive Campaign Contribution)

            The United States Attorney further charges:

            43.   The allegations contained in paragraphs 1 through

3,   and 24 through 40 are repeated and realleged as though fully

set forth herein.

            44.   On   or   about   October   27,   2016,   in   the   Southern

District of New York and elsewhere, MICHAEL COHEN, the defendant,

knowingly and willfully made and caused to be made a contribution

to Individual-1, a candidate for Federal office, and his authorized

political committee in excess of the limits of the Election Act,

which aggregated $25,000 and more in calendar year 2016, and did

so by making and causing to be made an expenditure, in cooperation,

consultation, and concert with, and at the request and suggestion

of one or more members         of   the campaign,    to wit,     COHEN made a

$130,000 payment to Woman-2 to ensure that she did not publicize

damaging allegations before the 2016 presidential                election and

thereby influence that election.

        (Title 52, United States Code, Sections 30116(a) (1) (A),
     30116(a) (7), and 30109(d) (1) (A), and Title 18, United States
                          Code, Section 2(b) .)




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                        FORFEITURE ALLEGATION

           45.   As a result of committing the offense alleged in

Count Six of this Information, MICHAEL COHEN, the defendant, shall

forfeit to the United States, pursuant to Title 18, United States

Code,   Section 982(a) (2) (A), any property constituting or derived

from proceeds obtained directly or indirectly as a result of the

commission of said offense.

                     Substitute Assets Provision

           46.   If any of the above-described forfeitable property,

as a result of any act or omission of the defendant:

           a.    cannot be    located   upon     the   exercise   of    due
                 diligence;

           b.    has been transferred or sold to, or deposited with,
                 a third person;

            c.   has been placed beyond        the   jurisdiction of     the
                 Court;

            d.   has been substantially diminished in value; or

            e.   has been commingled with other property               which
                 cannot be subdivided without difficulty;

it is the intent of the United States, pursuant to Title 21, United

States Code, Section    853(p) and Title 28, United States Code,




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Section 2461(c),   to seek forfeiture of any other property of the

defendant up to the value of the above forfeitable property.

           (Title 18, United States Code, Section 982;
         Title 21, United States Code, Section 853; and
          Title 28, United States Code, Section 2461.)




                                    Acting United States Attorney




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                 UNITED STATES DISTRICT COURT
                 SOUTHERN DISTRICT OF NEW YORK


                  UNITED STATES OF AMERICA

                            - v. -

                       MICHAEL COHEN,

                          Defendant.


                         INFORMATION

                       18 Cr. _      (WHP)




                               ROBERT KHUZAMI
                 Acting United States Attorney
